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                                               THE HONORABLE RICHARD A. JONES




                     UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 NORTHWEST ADMINISTRATORS,
 INC.,                                        NO.     C21-01451-RAJ

                      Plaintiffs
                                              NOTICE OF VOLUNTARY DISMISSAL
               v.                             WITHOUT PREJUDICE

 GALLO SALES COMPANY, INC., a
 California corporation,

                      Defendant.


       COMES NOW Plaintiff, by and through its attorneys, and hereby gives notice of

voluntary dismissal of this action without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1).

       DATED this _17th day of November, 2021.

                                           REID, McCARTHY, BALLEW & LEAHY,
                                           L.L.P.

                                           By: s/Russell J. Reid
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